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                    Exhibit 5
 Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.100 Filed 03/29/22 Page 2 of 23

                                                                                                     USO10965512B2


( 12 ) LiUnited
           et al.
                  States Patent                                                    ( 10) Patent No .: US 10,965,512 B2
                                                                                   (45 ) Date of Patent :  Mar. 30 , 2021
( 54 ) METHOD AND APPARATUS USING                                             ( 56 )                 References Cited
        CELL - SPECIFIC AND COMMON PILOT
        SUBCARRIERS IN MULTI -CARRIER , MULTI                                                  U.S. PATENT DOCUMENTS
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        NETWORKS                                                                       5,828,650 A    10/1998 Malkamaki et al.
                                                                                                        ( Continued )
( 71 ) Applicant: Neo Wireless LLC , Wayne , PA (US )
                                                                                            FOREIGN PATENT DOCUMENTS
( 72 ) Inventors : Xiaodong Li , Kirkland , WA (US );
                   Titus Lo , Bellevue , WA (US ); Kemin                      CN                 1407745           4/2003
                   Li , Bellevue, WA (US ) ; Haiming                          CN                 1445949          10/2003
                   Huang , Bellevue , WA (US )                                                             ( Continued )
( 73 ) Assignee : NEO WIRELESS LLC , Wayne, PA                                                   OTHER PUBLICATIONS
                   ( US )
                                                                              European Telecommunications Standards Institute, Digital Video
( * ) Notice: Subject to any disclaimer, the term of this                     Broadcasting ( DVB ) ; Framing structure, channel coding and modu
                   patent is extended or adjusted under 35                    lation for digital terrestrial television , ETSI EN 300 744 V1.5.1
                   U.S.C. 154 ( b ) by 0 days.                                ( Jun . 2004 ) .
( 21 ) Appl. No .: 17/012,813                                                                           (Continued )
( 22 ) Filed :     Sep. 4 , 2020                                              Primary Examiner Omoniyi Obayanju
(65 )                  Prior Publication Data                                 (74 ) Attorney, Agent, or Firm – Volpe Koenig
        US 2020/0403838 A1           Dec. 24 , 2020                           ( 57 )                   ABSTRACT
               Related U.S. Application Data                                  Amulti- carrier cellular wireless network (400 ) employs base
( 63 ) Continuation of application No. 16/ 440,754 , filed on                 stations (404 ) that transmit two different groups of pilot
        Jun . 13 , 2019 , which is a continuation of application              subcarriers: ( 1 ) cell - specific pilot subcarriers , which are
                          ( Continued )                                       used by a receiver to extract information unique to each
                                                                              individual cell ( 402 ) , and (2 ) common pilots subcarriers,
(51 ) Int. Ci.                                                                which are designed to possess a set of characteristics com
        H04W 4/00                 ( 2018.01 )                                 mon to all the base stations (404 ) of the system . The design
        H04L 27/26                (2006.01 )                                  criteria and transmission formats of the cell -specific and
                          ( Continued )                                       common pilot subcarriers are specified to enable a receiver
(52) U.S. Cl .                                                                to perform different system functions. The methods and
        CPC           H04L 27/2637 (2013.01 ) ; H04B 1/707                    processes can be extended to other systems, such as those
                         (2013.01 ) ; H04B 770413 ( 2013.01 ) ;               with multiple antennas in an individual sector and those
                       (Continued )                                           where some subcarriers bear common network / system infor
                                                                              mation .
( 58) Field of Classification Search
      CPC .... H04L 5/0053 ; HO4L 5/0007 ; H04L 5/0048
        See application file for complete search history .                                     30 Claims , 13 Drawing Sheets
                                                Subcarrier arrangement for Cello
                                                              S                                  C




                                                Subcarrier arrangement for Cello                 C
                                                              S
                                                                                                                      C




                           C                       S



                               Common pilot            Cell -specific pilot      Subcarriers
                               subcarriers             subcarriers               for data
 Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.101 Filed 03/29/22 Page 3 of 23


                                                         US 10,965,512 B2
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U.S. Patent                               Mar. 30 , 2021                  Sheet 1 of 13                 US 10,965,512 B2



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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.104 Filed 03/29/22 Page 6 of 23


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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.105 Filed 03/29/22 Page 7 of 23


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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.106 Filed 03/29/22 Page 8 of 23


U.S. Patent           Mar. 30 , 2021   Sheet 4 of 13         US 10,965,512 B2




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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.107 Filed 03/29/22 Page 9 of 23


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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.108 Filed 03/29/22 Page 10 of 23


U.S. Patent                                           Mar. 30 , 2021           Sheet 6 of 13                            US 10,965,512 B2




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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.109 Filed 03/29/22 Page 11 of 23


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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.110 Filed 03/29/22 Page 12 of 23


U.S. Patent                 Mar. 30 , 2021            Sheet 8 of 13                        US 10,965,512 B2




                802                                        802

                    Delay                  m         102   Delay Inw w.son
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                                 m r a n s i t e r               ]
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                                                                             Tnransmiter   FIG
                                                                                           .
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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.111 Filed 03/29/22 Page 13 of 23


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Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.112 Filed 03/29/22 Page 14 of 23


U.S. Patent                 Mar. 30 , 2021    Sheet 10 of 13              US 10,965,512 B2




                                     MS
                                             BSector
           10 4

                                                MS                             10
                                                                               .
                                                                               FIG

                                                                ASector
                  Tx
                       TX
                                                               MS



                                                     10 4
Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.113 Filed 03/29/22 Page 15 of 23


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                                            SectorB

                                      MS
                                                 A Sector                          11
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                                                                                   FIG

                          1 08                                     MS
        GPS                                                             100410 4
 1 06


                                                            1 04
                                                      Tx
Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.114 Filed 03/29/22 Page 16 of 23


U.S. Patent              Mar. 30 , 2021                 Sheet 12 of 13                                US 10,965,512 B2




                                                                                             CGroup
           GBroup   CellB3            CellB2             CellC3                     CellC2

                             CellB1                               CellC1                                FIG
                                                                                                        12
                                                                                                        .

                                      CellA3             CellA2

                                               CellA1                      AGroup
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U.S. Patent                  Mar. 30 , 2021                      Sheet 13 of 13         US 10,965,512 B2




        dCoamtoan                                                 Cdoamtoan
                  subcarie             Csafpurobecmonagrlrient               subcarie     asCafruobecmnagrlorient FIG.13
      10
      Cpoimlont
                subcarie                                         Cpoimlont
                                                                           subcarie
Case 2:22-cv-11402-TGB ECF No. 1-5, PageID.116 Filed 03/29/22 Page 18 of 23


                                                       US 10,965,512 B2
                                1                                                                       2
          METHOD AND APPARATUS USING                                     careful and systematic consideration of the unique require
       CELL - SPECIFIC AND COMMON PILOT                                  ments of the pilot subcarriers .
    SUBCARRIERS IN MULTI -CARRIER , MULTI
        CELL WIRELESS COMMUNICATION                                           BRIEF DESCRIPTION OF THE DRAWINGS
                                                                     5
                         NETWORKS
                                                                       FIG . 1 depicts a basic multi - carrier wireless communica
           CROSS - REFERENCE TO RELATED                             tion system consisting of a transmitter and a receiver.
                      APPLICATION ( S )                                FIG . 2 shows basic structure of a multi- carrier signal in
                                                                    the frequency domain, which is made up of subcarriers .
                                                                 10    FIG . 3 shows a radio resource divided into small units in
   This application is a continuation of U.S. patent applica
tion Ser. No. 16 /440,754 , filed Jun . 13 , 2019 , which is a both slots .
                                                                           the frequency and time domains : subchannels and time
continuation of U.S. patent application Ser. No. 15 / 688,441 ,        FIG . 4 depicts a cellular wireless network comprised of
filed Aug. 28 , 2017 , which issued as U.S. Pat . No. 10,326 , multiple          cells , in each of which coverage is provided by a
631 on Jun . 18 , 2019 , which is a continuation ofU.S. patent 15 base station        (BS) .
application Ser. No. 14 /746,676 , filed Jun . 22 , 2015 , which
issued as U.S. Pat . No. 9,749,168 on Aug. 29 , 2017 , which cell- specific pilotpilot
                                                                       FIG   . 5   shows          subcarriers divided into two groups:
                                                                                             subcarriers and common pilot subcarriers.
is a continuation of U.S. patent application Ser. No. 14/595 ,
132 , filed Jan. 12 , 2015 , which issued as U.S. Pat. No. functional block shown in FIGpilot
                                                                       FIG   . 6  is an embodiment     of       -generation -and -insertion
                                                                                                           . 1 , which employs a micro
9,065,614 on Jun . 23 , 2015 , which is a continuation of U.S. 20 processor to generate pilot subcarriers and insert them into
patent application Ser. No. 13 / 874,278 , filed Apr. 30 , 2013 ,        a frequency sequence contained in the electronic memory .
which issued as U.S. Pat . No. 8,934,473 on Jan. 13 , 2015 ,                FIG . 7 shows that common pilot subcarriers are generated
which is a continuation of U.S. patent application Ser. No.              by a microprocessor of FIG . 6 to realize phase diversity .
13 /212,116 , filed Aug. 17 , 2011 , which issued as U.S. Pat.     FIG . 8 is an embodiment of delay diversity, which effec
No. 8,432,891 on Apr. 30 , 2013 , which is a continuation of 25 tively creates phase diversity by adding a random delay time
U.S. patent application Ser. No. 10/ 583,530 , filed May 30 , duration , either in baseband or RF, to the time - domain
2007 , which issued as U.S. Pat . No. 8,009,660 on Aug. 30 ,             signals.
2011 , which is a U.S. National Stage ofPCT Application No.                 FIG . 9 shows two examples for extension to multiple
PCT/US05 /01939, filed Jan. 20 , 2005 , which claims the antenna applications.
benefit of and priority to U.S. Provisional Patent Application 30 FIG . 10 is an embodiment of synchronization in fre
No. 60/ 540,032 , filed on Jan. 29 , 2004 , the entire contents of quency and time domains of two collocated base stations
all of which are hereby incorporated by reference herein .           sharing a common frequency oscillator.
                        BACKGROUND
                                                                        FIG . 11 is an embodiment of synchronization in fre
                                                                     quency and time domains with base stations at different
                                                                  35 locations sharing a common frequency reference signal
   In multi - carrier wireless communications, many impor- generated from the GPS signals .
tant system functions such as frequency synchronization and             FIG . 12 is an embodiment depicting a wireless network
channel estimation, depicted in FIG . 1 , are facilitated by consisting of three groups of cells (or sectors ) and base
using the network information provided by a portion of total stations in each group that share their own set of common
subcarriers such as pilot subcarriers . The fidelity level of the 40 pilot subcarriers .
received subcarriers dictates how well these functions can be           FIG . 13 shows all base stations within a network transmit,
achieved , which in turn affect the efficiency and capacity of along with a common pilot subcarrier, a data subcarrier
the entire network .                                                 carrying data information common to all cells in the net
   In a wireless network , there are a number of base stations, work .
each of which provides coverage to designated areas, nor- 45
mally called a cell . If a cell is divided into sectors , from a                         DETAILED DESCRIPTION
system engineering point of view each sector can be con
sidered a cell . In this context, the terms " cell ” and “ sector"         In the following description the invention is explained
are interchangeable. The network information can be cat- with respect to some of its various embodiments, providing
egorized into two types: the cell - specific information that is 50 specific details for a thorough understanding and enable
unique to a particular cell , and the common information that            ment. However, one skilled in the art will understand that the
is common to the entire network or to a portion of the entire            invention may be practiced without such details . In other
networks such as a group of cells .                                      instances, well -known structures and functions have not
   In a multi - cell environment, for example, the base station been shown or described in detail to avoid obscuring the
transmitter of each cell transmits its own pilot subcarriers, in 55 depiction of the embodiments.
addition to data carriers, to be used by the receivers within         Unless the context clearly requires otherwise, throughout
the cell . In such an environment, carrying out the pilot- the description and the claims , the words “ comprise," " com
dependent functions becomes a challenging task in that, in prising , " and the like are to be construed in an inclusive
addition to the degradation due to multipath propagation sense as opposed to an exclusive or exhaustive sense; that is
channels, signals originated from the base stations at differ- 60 to say, in the sense of “ including, but not limited to .” Words
ent cells interfere with each other.                              using the singular or plural number also include the plural or
   One approach to deal with the interference problem has singular number respectively. Additionally, the words
been to have each cell transmit a particular pattern of pilot “ herein , ” “ above,” “ below ” and words of similar import,
subcarriers based on a certain type of cell -dependent random when used in this application , shall refer to this application
process. This approach, to a certain degree, has mitigated the 65 as a whole and not to any particular portions of this
impact of the mutual interference between the pilot subcar-              application . When the claims use the word “ or” in reference
riers from adjacent cells ; however, it has not provided for a           to a list of two or more items , that word covers all of the
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                              3                                                                    4
following interpretations of the word : any of the items in the      the frequency and the time domains. This canonical division
list , all of the items in the list and any combination of the       provides a high flexibility and fine granularity for resource
items in the list .                                                  sharing. The basic structure of a multi - carrier signal in the
   FIG . 1 depicts a basic multi- carrier wireless communica-        frequency domain is made up of subcarriers , and within a
tion system consisting of a transmitter 102 and a receiver 5 particular spectral band or channel there are a fixed number
104. A functional block 106 at the transmitter, called Pilot         of subcarriers . There are three types of subcarriers:
generation and insertion , generates pilot subcarriers and            1. Data subcarriers, which carry information data ;
inserts them into predetermined frequency locations. These           2. Pilot subcarriers, whose phases and amplitudes are
pilot subcarriers are used by the receiver to carry out certain predetermined and made known to all receivers and which
functions. In aspects of this invention, pilot subcarriers are 10 are used for assisting system functions such as estimation of
divided into two different groups according to their func- system parameters; and
tionalities, and hence their distinct requirements. The trans-       3. Silent subcarriers, which have no energy and are used
mission format of each group of pilot subcarriers will be for guard bands and DC carriers .
designed so that it optimizes the performance of the system          The data subcarriers can be arranged into groups called
functions such as frequency synchronization and channel 15 subchannels to support multiple access and scalability. The
estimation .                                                       subcarriers forming one subchannel are not necessarily
   The first group is called “ cell - specific pilot subcarriers,” adjacent to each other . This concept is illustrated in FIG . 2 ,
and will be used by the receiver 104 to extract information showing a basic structure of a multi - carrier signal 200 in the
unique to each individual cell . For example , these cell- frequency domain, which is made up of subcarriers . Data
specific pilot subcarriers can be used in channel estimation 20 subcarriers can be grouped into subchannels in a particular
where it is necessary for a particular receiver to be able to way. The pilot subcarriers are also distributed over the entire
differentiate the pilot subcarriers that are intended for its use channel in a particular way.
from those of other cells . For these pilot subcarriers, coun-       The basic structure of a multi - carrier signal in the time
ter- interference methods are necessary.                           domain is made up of time slots to support multiple -access.
   The second group is termed “ common pilot sub - carriers , ” 25 The resource division in both the frequency and time
and are designed to possess a set of characteristics common domains is depicted in FIG . 3 which shows a radio resource
to all base stations of the system . Thus, every receiver 104 divided into small units in both the frequency and time
within the system is able to exploit these common pilot domains : subchannels and time slots , 300. The basic struc
subcarriers to perform necessary functions without interfer- ture of a multi - carrier signal in the time domain is made up
ence problem . For instance , these common pilot subcarriers 30 of time slots .
can be used in the frequency synchronization process, where          As depicted in FIG . 1 , in a multi - carrier communication
it is not necessary to discriminate pilot subcarriers of dif- system , a generic transmitter may consist of the following
ferent cells , but it is desirable for the receiver combine        functional blocks :
coherently the energy of common pilot subcarriers with the            1. Encoding and modulation 108
same carrier index from different cells , so as to achieve 35 2. Pilot generation and insertion 106
relatively accurate frequency estimation .                        3. Inverse fast Fourier transform ( IFFT ) 110
  Aspects of this invention provide methods to define the         4. Transmission 112
transmission formats of the cell - specific and common pilot And a generic receiver may consist of the following func
subcarriers that enable a receiver to perform different system tional blocks :
functions. In particular, a set of design criteria are provided 40     1. Reception 114
for pilot subcarriers . Other features of this invention further       2. Frame synchronization 116
provide apparatus or means to implement the above design               3. Frequency and timing compensation 118
processes and methods. In particular, signal reception can be          4. Fast Fourier transform ( FFT ) 120
improved by manipulating phase values of the pilot subcar-             5. Frequency, timing, and channel estimation 122
riers and by using power control.                             45       6. Channel compensation 124
   The methods and processes can also be extended to other             7. Decoding 126
cases , such as where multiple antennas are used within an           Cellular Wireless Networks
individual sector and where some subcarriers are used to               In a cellular wireless network , the geographical region to
carry common network /system information. Base stations be serviced by the network is normally divided into smaller
can be synchronized in frequency and time by sharing a 50 areas called cells . In each cell the coverage is provided by
common frequency oscillator or a common frequency ref- a base station . Thus, this type of structure is normally
erence signal, such as the one generated from the signals referred to as the cellular structure depicted in FIG . 4 , which
provided by the Global Positioning System (GPS ).                 illustrates a cellular wireless network 400 comprised of
Multi -Carrier Communication System                               multiple cells 402 , in each of which coverage is provided by
   In a multi - carrier communication system such as multi- 55 a base station ( BS ) 404. Mobile stations are distributed
carrier code division multiple access ( MC - CDMA) and within each coverage area .
orthogonal frequency division multiple access (OFDMA ),              A base station 404 is connected to the backbone of the
information data are multiplexed on subcarriers that are network via a dedicated link and also provides radio links to
mutually orthogonal in the frequency domain . In effect, a mobile stations within its coverage . A base station 404 also
frequency selective channel is broken into a number of 60 serves as a focal point to distribute information to and collect
parallel but small segments in frequency that can be treated information from its mobile stations by radio signals . The
as flat fading channels and hence can be easily dealt with mobile stations within each coverage area are used as the
using simple one- tap equalizers. The modulation /demodu- interface between the users and the network .
lation can be performed using the fast Fourier transform             In an M - cell wireless network arrangement, with one -way
( FFT ) .                                                      65 or two-way communication and time division or frequency
   In a multi -carrier communication system the physical division duplexing, the transmitters at all the cells are
media resource ( e.g. , radio or cable ) can be divided in both synchronized via a particular means and are transmitting
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simultaneously. In a specific cell 402 of this arrangement,      To estimate the frequency, normally signals at different
the pth cell , a receiver receives a signal at a specific     times are utilized . In an example with two common pilot
subcarrier, the ith subcarrier, at the time tz, which can be subcarriers of the same frequency index, the received signal
described as :                                                at time tk + 1, with respect to the received signal at time tz , is
                                                            5 given by
                                                                   (1)
       si (tk) = diop (tik devlei,plk?+ aimnlti deili mlik)
                                    m= 1                                            si (tk + 1) = ed27fia: Xaim (tk+1Dejepi,n6k +1)
                                                                                                                                         (3 )
                                    m#p
                                                                                                           m= 1
                                                                         10


where aim (tx ) and Pim (tx ) denote the signal amplitude and                 where At= x + 1 - tz . If At is much less than the coherence
phase , respectively, associated with the ith subcarrier from period of the channel and
the base station of the min cell .                                                                                                       (4)
Cell - Specific Pilot Subcarriers                                   15 dim (tx)= c;Qim tk +1)
   If the ith subcarrier is used as a pilot subcarrier at the pth and
cell for the cell - specific purposes, the cell-specific informa       Pim (t ) = Pim tk + 1) + B ;                                      (5 )
tion carried by ai,p ( tx) and Pip ( tz) will be of interest to the
receiver at the pth cell and other signals described by the 20 then the frequency can be determined by
second term on the right hand side of equation ( 1 ) will be                       27 / Ar= arg { s/ (k ) ,(k + 1) } - B,                ( 6)
interference, which is an incoherent sum of signals from
other cells . In this case , a sufficient level of the carrier -to-
                                                                  where c ; >0 and --sßist or are predetermined constants for
interference ratio ( CIR) is required to obtain the estimates of  all values of m . And from all the frequency estimates { f; },
airp ( tx) and ( i,p ( tz) with desirable accuracy.            25
                                                                  a frequency offset can be derived based on a certain crite
   There are many ways to boost the CIR . For examples, the rion .
amplitude of a pilot subcarrier can be set larger than that of       For timing estimation , normally multiple common pilot
a data subcarrier ; power control can be applied to the pilot carriers        are required. In an example of two common pilot
                                                                    subcarriers    , the received signal at fn , is given by
subcarriers ; and cells adjacent to the pth cell may avoid
using the ith subcarrier as pilot subcarrier. All these can be 30
achieved with coordination between the cells based on
certain processes, described below .                                       Sn(tk ) = 2/27AFT "*" anmliklewien,mlk )
Common Pilot Subcarriers                                                                                     m= 1

   The common pilot subcarriers for different cells are
normally  aligned
transmission  , as in   the frequency
                    depicted  in FIG . 5index
                                         , whichat the
                                                   showstimepilot
                                                              of 35 where Af = f., - f; and T, denotes the sampling period. If Af is
subcarriers divided into two groups : cell -specific pilot sub much less than the coherence bandwidth of the channel and
carriers and common pilot subcarriers. The cell - specific                Qi,m (tx )= c( tz )anm (tz)                            (8)
pilot subcarriers for different cells are not necessarily
aligned in frequency. They can be used by the receiver to 40 and
extract cell - specific information . The common pilot subcar           Pim (tz ) = Pnom (+8 )+ y (tz)                            (9 )
riers for different cells may be aligned in frequency, and
possess a set of attributes common to all base stations within then T , can be determined by
the network . Thus, every receiver within the system is able
to exploit these common pilot subcarriers without interfer- 45          2AAFT (1x )= arg {s;* {tz )sqr(tx)} -y( x)              ( 10 )
ence problem . The power of the pilot subcarriers can be where c (tz ) > 0 and -Asy (t )st are predetermined constants
varied through a particular power control scheme and based for all values of m .
on a specific application.                                          FIG . 6 is an embodiment of pilot -generation - and - insertion
   If the ith subcarrier is used as a pilot subcarrier at the pth functional block 106 shown in FIG . 1 , which employs a
cell for the common purposes, it is not necessary to consider 50 microprocessor 602 to generate pilot subcarriers and insert
the second term on the right hand side of equation ( 1 ) to be them into a frequency sequence contained in electronic
interference . Instead, this term can be turned into a coherent memory 604. In one embodiment of the invention illustrated
component of the desirable signal by designing the common in FIG . 6 , a microprocessor 602 embedded in the pilot
pilot carriers to meet the criteria specified in the aspects of generation -and - insertion functional block 106 computes the
this inventionin, provided
synchronized         frequencythat      andbase
                                            time .stations
                                                   In suchata case
                                                              all cells are 55 attributes of the pilot subcarriers such as their frequency
                                                                   the cell
in which the receiver is located becomes irrelevant and , and                  indices and complex values specified by their requirements ,
consequently, the received signal can be rewritten as :                             insert them into the frequency sequence contained in the
                                                                               electronic memory 604 , such as a RAM , ready for the
                                                                            60 application of IFFT .
                                                                               Diversity for Common Pilot Subcarriers
       si (t ) = Ž di,m (t )elli,m (tk)
                m= 1
                                                                                  Considering equation ( 2 ) , which is the sum of a number
                                                                               of complex signals , it is possible for these signals to be
                                                                               destructively superimposed on each other and cause the
The common pilot subcarriers can be used for a number of 65 amplitude of the receiver signal at this particular subcarrier
functionalities, such as frequency offset estimation and to be so small that the signal itself becomes unreliable . Phase
timing estimation.                                                             diversity can help this adverse effect. In the example of
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frequency estimation , a random phasem can be added to                    carriers can be used along with the cell - specific subcarriers
another pilot subcarrier, say the Ith subcarrier, which results           to determine the cell-specific information in some scenarios,
in                                                                        one of which is the operation at the edge of the network .
                                                                          Base  Transmitters Synchronization
      Pim (tx ) = Pim (tk ) + 01, m                              ( 11 ) 5    Base stations at all cells are required to be synchronized
and                                                                       in frequency and time . In one embodiment of the invention
     Pim ti +1)= Pim (tx+1)+ 0 ,m                                ( 12 )
                                                                          the collocated base station transmitters are locked to a single
                                                                           frequency oscillator, as in the case where a cell is divided
where 248 1 , m should be set differently for each cell , and              into sectors and the base stations of these sectors are
provided that the following condition is met,                           10 physically placed at the same location .
      Pim ( tk ) = P1.m (tx + 1) + Bi, for all values of m       ( 13 )
                                                                              FIG . 10 is an embodiment of synchronization in fre
                                                                           quency and time domains of two collocated base stations
  With the phase diversity, it is expected that the probability          sharing a common frequency oscillator 1002. Mobile sta
of both 1s ( tz ) and is (t ) diminishing at the same time is            tions 1004 covered by these two base stations do not
relatively small . The embodiment of phase diversity is 15 experience interference when receiving the common pilot
depicted in FIG . 7 , which shows common pilot subcarriers               subcarriers . The base station transmitters that are located at
generated by a microprocessor of FIG . 6 to realize phase different areas are locked to a common reference frequency
diversity. It should be noted that time delay will achieve the source , such as the GPS signal. FIG . 11 depicts an embodi
equivalent diversity effect.                                      ment of synchronization in frequency and time domains with
   Another embodiment is illustrated in FIG . 8 , which effec- 20 base stations 1102 and 1104 at different locations sharing a
tively creates phase diversity by adding a random delay time common frequency reference signal generated from the GPS
duration 802 , either in baseband or RF, to the time - domain     1106 signals. Mobile stations 1108 covered by these two
signals.                                                          base stations 1102 and 1104 do not experience interference
Power Control for Pilot Subcarriers                               when receiving the common pilot subcarriers .
   In one embodiment of the invention , power control can be 25 In some applications, the entire wireless network may
applied to the pilot subcarriers. The power of the pilot consist of multiple groups of cells ( or sectors ) and each
subcarriers can be adjusted individually or as a subgroup to group may have its own set of common pilot subcarriers. In
   1. meet the needs of their functionalities;                    such scenarios, only those base stations within their group
   2. adapt to the operation environments (e.g. , propagation are required to synchronize to a common reference. While
channels ); and                                                30 the common pilot subcarriers within each group are
   3. reduce interference between cells or groups of cells .      designed to meet the criteria defined by equations (4 ) and ( 5 )
In another embodiment power control is implemented dif- or by ( 8 ) and ( 9 ) for the use by its base stations , a particular
ferently for cell - specific pilot subcarriers and common pilot counter - interference process ( e.g. , randomization in fre
subcarriers. For example, stronger power is applied to quency or power control) will be applied to different sets of
common pilot subcarriers than to the cell -specific subcarri- 35 common pilot subcarriers. This will cause the signals from
ers .                                                             the cells within the same group to add coherently while the
Application to Multiple Antennas                                  signals from the cells in other groups are treated as random
   The methods and processes provided by this invention can ized interference .
also be implemented in applications where multiple anten-            One embodiment of such implementation is illustrated in
nas are used within an individual sector, provided that the 40 FIG . 12 , where a wireless network consists of three groups
criteria specified either by equations (4 ) and ( 5 ) for fre- ( A , B , and C ) of cells ( or sectors ) . The base stations within
quency estimation or by equations ( 8 ) and ( 9 ) for timing their own group share the same set of common pilot sub
estimation are satisfied .                                        carriers. In this scenario , only those base stations within
   FIG . 9 shows two examples for extension to multiple their group are required to synchronize to a common refer
antenna applications. In case (a ) where there is only one 45 ence . While the common pilot subcarriers within each group
transmission branch that is connected to an array of antennas are designed to meet the criteria defined in this invention, a
902 through a transformer 904 (e.g. , a beam - forming particular counter -interference process ( e.g. , randomization
matrix ), the implementation is exactly the same as in the in frequency ) will be applied to different sets of common
case of single antenna . In case (b ) of multiple transmission pilot subcarriers. For example, the base stations at Cells A1 ,
branches connected to different antennas 906 ( e.g. , in a 50 A2 , and A3 in Group A synchronize to their own common
transmission diversity scheme or a multiple - input multiple- reference source and transmit the same set of common pilot
output scheme) , the cell - specific pilot subcarriers for trans- subcarriers, and the base stations at Cells B1 , B2 , and B3 in
mission branches are usually defined by a multiple -antenna Group B synchronize to their own reference source and
scheme whereas the common pilot subcarriers for each transmit another set of common pilot subcarriers that are
transmission branch are generated to meet the requirements 55 located at different places in the frequency domain .
of (4 ) and ( 5 ) for frequency estimation or ( 8 ) and ( 9 ) for Extension to Transmission of Data Information
timing estimation .                                                   All design processes , criteria , and methods described in
Joint -Use of Cell -Specific and Common Pilot Subcarriers          the embodiments of this invention can be extended to
   In one embodiment the cell -specific and common pilot applications where common network information is required
subcarriers can be used jointly in the same process based on 60 to be distributed to all receivers within the network . In one
certain information theoretic criteria , such as the optimiza- example, all the base stations within the network transmit,
tion of the signal - to -noise ratio . For example, in the estima- along with some common pilot subcarriers, an identical set
tion of a system parameter (e.g. frequency ), some or all of data subcarriers in which the data information common to
cell- specific subcarriers , if they satisfy a certain criterion , all the cells in the network is imbedded .
such as to exceed a CIR threshold , may be selected to be 65 FIG . 13 shows all base stations within a network transmit,
used together with the common pilot subcarriers to improve along with a common pilot subcarrier, a data subcarrier
estimation accuracy . Furthermore, the common pilot sub- carrying data information common to all cells in the net
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work . A receiver within the network can determine the              2. The OFDMA - compatible base station of claim 1
composite channel coefficient based on the common pilot wherein all subcarriers of the first plurality of subcarriers are
subcarrier and apply it to the data subcarrier to compensate different than all subcarriers of the second plurality of
for the channel effect, thereby recovering the data informa- subcarriers.
tion .                                                        5
                                                                    3. The OFDMA - compatible base station of claim 1
   The above detailed descriptions of embodiments of the wherein the second plurality of subcarriers includes an n
invention are not intended to be exhaustive or to limit the      subcarrier and an n + 18 subcarrier spaced apart from the n
invention to the precise form disclosed above . While specific subcarrier by 17 subcarriers and the first plurality of sub
embodiments of, and examples for, the invention are
described above for illustrative purposes, various equivalent 10 carriers includes an mh subcarrier and an m + 20 subcarrier
                                                                        spaced apart from the mth subcarrier by 19 subcarriers.
modifications are possible within the scope of the invention ,            4. The OFDMA -compatible base station of claim 1
as those skilled in the relevant art will recognize. For                wherein each cell -specific pilot of the cell-specific pilots is
example, while steps are presented in a given order, alter              unique to a respective cell .
native embodiments may perform routines having steps in a
different order. The teachings of the invention provided 15 5. The OFDMA - compatible base station of claim 1
herein can be applied to other systems , not necessarily the wherein the first plurality of subcarriers are not aligned in
system described herein . These and other changes can be frequency with subcarriers of at least another cell onto
made to the invention in light of the detailed description . which respective cell - specific pilots are inserted .
   The elements and acts of the various embodiments            6. The OFDMA -compatible base station of claim 1
described above can be combined to provide further embodi- 20 wherein the second plurality of subcarriers are beam
ments .                                                                 formed .
   These and other All of the above U.S. patents and appli-                 7. The OFDMA - compatible base station of claim 1
cations and other references are incorporated herein by wherein the cell -specific pilots are used to onvey cell
reference . Aspects of the invention can be modified , if specific information.
necessary, to employ the systems, functions and concepts of 25 8. A method performed by an orthogonal frequency divi
the various references described above to provide yet further sion multiple access (OFDMA ) -compatible base station that
embodiments of the invention .                                           uses subcarriers in a frequency domain and time slots in a
   Changes can be made to the invention in light of the above time domain , the method comprising:
detailed description. In general, the terms used in the fol-                inserting, by the OFDMA - compatible base station , first
lowing claims should not be construed to limit the invention 30                pilots of a first type onto a first plurality of subcarriers,
to the specific embodiments disclosed in the specification ,                   wherein the first pilots are cell - specific pilots ;
unless the above detailed description explicitly defines such               inserting, by the OFDMA - compatible base station, data
terms. Accordingly, the actual scope of the invention encom                    and second pilots of a second type onto a second
passes the disclosed embodiments and all equivalent ways of                    plurality of subcarriers;
practicing or implementing the invention under the claims . 35 wherein at least some subcarriers of the first plurality of
   While certain aspects of the invention are presented below                  subcarriers or the second plurality of subcarriers are
in certain claim forms, the inventors contemplate the various                  beam - formed ; and
aspects of the invention in any number of claim forms. For                  transmitting, by the OFDMA -compatible base station , the
example , while only one aspect of the invention is recited as                 first plurality of subcarriers and the second plurality of
embodied in a computer - readable medium , other aspects 40                    subcarriers in at least one of the time slots using a
may likewise be embodied in a computer - readable medium .                     plurality of antennas;
Accordingly, the inventors reserve the right to add additional              wherein the second type is different than the first type and
claims after filing the application to pursue such additional                  wherein the first pilots do not interfere with the second
claim forms for other aspects of the invention .                               pilots .
   What is claimed is :                                               45    9. The method of claim 8 wherein all subcarriers of the
   1. An orthogonal frequency division multiple access first plurality of subcarriers are different than all subcarriers
( OFDMA ) -compatible base station that uses subcarriers in a of the second plurality of subcarriers .
frequency domain and time slots in a time domain , the                      10. The method of claim 8 wherein the second plurality of
OFDMA -compatible base station comprising :                              subcarriers includes an nth subcarrier and an n + 18 subcarrier
   a plurality of antennas; and                                       50 spaced apart from the nth subcarrier by 17 subcarriers and the
   a transmitter operably coupled to the plurality of anten- first plurality of subcarriers includes an mh subcarrier and an
      nas ;                                                              m + 20 subcarrier spaced apart from the mth subcarrier by 19
   the transmitter configured to :                                       subcarriers.
      insert first pilots of a first type onto a first plurality of         11. The method of claim 8 wherein each cell -specific pilot
         subcarriers
         pilots ; and
                      , wherein  the  first pilots are cell -specific 55 of  the cell -specific pilots is unique to a respective cell.
                                                                            12. The method of claim 8 wherein the first plurality of
      insert data and second pilots of a second type onto a subcarriers are not aligned in frequency with subcarriers of
         second plurality of subcarriers ;                               at least another cell onto which respective cell -specific pilots
      wherein at least some subcarriers of the first plurality of are inserted .
         subcarriers or the second plurality of subcarriers are 60 13. The method ofclaim 8 wherein the second plurality of
         beam - formed ; and                                             subcarriers are beam - formed .
   the plurality of antennas configured to transmit the first               14. The method of claim 8 wherein the cell -specific pilots
      plurality of subcarriers and the second plurality of are used to convey cell -specific information .
      subcarriers in at least one of the time slots ;                       15. An orthogonal frequency division multiple access
   wherein the second type is different than the first type and 65 (OFDMA ) -compatible mobile station that uses subcarriers
      wherein the first pilots do not interfere with the second in a frequency domain and time slots in a time domain , the
      pilots.                                                            OFDMA - compatible mobile station comprising:
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  at least one antenna ; and                                              22. The OFDMA -compatible mobile station of claim 15
  a receiver; and                                                      wherein the receiver is further configured to extract cell
  the at least one antenna and the receiver are configured to :        specific
                                                                          23. Ainformation from the by
                                                                                 method performed    cellan- specific pilots .frequency
                                                                                                                orthogonal
    receive first pilots of a first type on a first plurality of
        subcarriers, wherein the first pilots are cell-specific 5 division
                                                                  tion thatmultiple   access (OFDMA
                                                                            uses subcarriers             )-compatible
                                                                                               in a frequency   domainmobile   sta
                                                                                                                          and time
       pilots ; and
    receive second pilots of a second type and data on a slots          in a time domain , the method comprising:
                                                                     receiving first pilots of a first type on a first plurality of
        second plurality of subcarriers, wherein the first              subcarriers, wherein the first pilots are cell -specific
       plurality of subcarriers and the second plurality of 10             pilots ;
       subcarriers are received in at least one of the time              receiving second pilots of a second type and data on a
       slots ;                                                              second plurality of subcarriers, wherein the first plu
    wherein at least some subcarriers of the first plurality of            rality of subcarriers and the second plurality of subcar
       subcarriers or the second plurality of subcarriers are              riers are received in at least one of the time slots ;
       beam - formed ; and                                       15
                                                                         wherein at least some subcarriers of the first plurality of
  the receiver is further configured to :                                   subcarriers or the second plurality of subcarriers are
                                                                            beam - formed ;
    recover the data using channel estimates from at least               recovering the data using channel estimates from at least
       the second pilots ; and                                             the second pilots ; and
    recover cell - specific information using the cell -specific         recovering cell-specific information using the cell-spe
       pilots ;                                                  20        cific pilots ;
   wherein the second type is different than the first type and          wherein the second type is different than the first type and
      wherein the first pilots do not interfere with the second            wherein the first pilots do not interfere with the second
      pilots .                                                             pilots .
   16. The OFDMA -compatible mobile station of claim 15                 24. The method of claim 23 wherein all subcarriers of the
wherein all subcarriers of the first plurality of subcarriers are 25 first plurality of subcarriers are different than all subcarriers
different than all subcarriers of the second plurality of of 25.         the second plurality of subcarriers .
                                                                             The method of claim 23 wherein the second plurality
subcarriers.
                                                                     of  subcarriers
   17. The OFDMA -compatible mobile station of claim 15 carrier spaced apart            includes an n subcarrier and an n + 18 sub
wherein the second plurality of subcarriers includes an nh                                    from the nth subcarrier by 17 subcarriers
subcarrier   and an n + 18 subcarrier spaced apart from the nth 30 rier
                                                                     and the    first plurality of subcarriers includes an mth subcar
                                                                           and an m + 20 subcarrier spaced apart from the m
subcarrier by 17 subcarriers and the first plurality of sub subcarrier             by 19 subcarriers.
carriers includes an mth subcarrier and an m + 20 subcarrier
spaced apart from the mth subcarrier by 19 subcarriers.                 26. The method of claim 23 wherein each cell - specific
   18. The OFDMA -compatible mobile station of claim 15 pilot           27.
                                                                            of the cell -specific pilots is unique to a respective cell .
                                                                             The method of claim 23 wherein the first plurality of
wherein each cell -specific pilot of the cell- specific pilots is 35 subcarriers     are transmitted at a same time as the second
unique to a respective cell .                                        plurality   of  subcarriers.
   19. The OFDMA -compatible mobile station of claim 15                 28.  The   method    of claim 23 wherein the second plurality
wherein the first plurality of subcarriers are transmitted at a of subcarriers are beam           - formed .
same time as the second plurality of subcarriers .                      29.  The   method    of claim  23 wherein the first plurality of
   20. The OFDMA -compatible mobile station of claim 15 40
wherein the second plurality of subcarriers are beam atsubcarriers                  are not aligned in frequency with subcarriers of
                                                                        least another cell onto which respective cell -specific pilots
formed .
   21. The OFDMA - compatible mobile station of claim 15             are  inserted .
                                                                        30.
wherein the first plurality of subcarriers are not aligned in cell -specific The method of claim 23 further comprising extracting
frequency with subcarriers of at least another cell onto 45                           information from the cell - specific pilots .
which respective cell- specific pilots are inserted .
